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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DISTRICT

DISABLED PATRIOTS OF AMERICA, INC.,
a Florida Not-For-Profit corporation, and
EFREM WALKER, Individually,

               Plaintiffs,                          Case No.
v.

GREENSTONE ENTERPRISES, LLC, a
Michigan Limited Liability Corporation,

            Defendant.
______________________________________/


                                        COMPLAINT
                                 (Injunctive Relief Demanded)

       Plaintiffs, DISABLED PATRIOTS OF AMERICA, INC., a Florida Not-For-Profit

Corporation, and EFREM WALKER, Individually, on their behalf and on behalf of all other

individuals similarly situated, (sometimes referred to as “Plaintiff” or “Plaintiffs”), hereby sue

the Defendant, GREENSTONE ENTERPRISES, LLC, a Michigan Limited Liability

Corporation, (sometimes referred to as “Defendant”), for Injunctive Relief, and attorney’s fees,

litigation expenses, and costs pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181

et seq. (“ADA”).

1.     Plaintiff, EFREM WALKER, is an individual residing in Pontiac, MI, in the County of

       Oakland.

2.     Plaintiff, DISABLED PATRIOTS OF AMERICA, INC., is a non-profit corporation

       formed under the laws of the State of Florida. DISABLED PATRIOTS OF AMERICA,

       INC. maintains its principal office at 702 North E Street, Lake Worth, FL 33460, in the

       County of Palm Beach.
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3.   Defendant’s property, Days Inn, is located at 1 W. 9 Mile Road, Hazel Park, Michigan

     48030 in Wayne County.

4.   Venue is properly located in the Eastern District of Michigan because venue lies in the

     judicial district of the property situs. The Defendant’s property is located in and does

     business within this judicial district.

5.   Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given original

     jurisdiction over actions which arise from the Defendant’s violations of Title III of the

     Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28 U.S.C. § 2201

     and § 2202.

6.   Plaintiff EFREM WALKER is a Michigan resident, is sui juris, and qualifies as an

     individual with disabilities as defined by the ADA. EFREM WALKER has visited the

     property which forms the basis of this lawsuit and plans to return to the property to avail

     himself of the goods and services offered to the public at the property. The Plaintiff has

     encountered architectural barriers at the subject property. The barriers to access at the

     property have endangered his safety. The Plaintiff is also a member of the Plaintiff

     organization, DISABLED PATRIOTS OF AMERICA, INC., discussed below in

     paragraph 7.

7.   Plaintiff DISABLED PATRIOTS OF AMERICA, INC., is a non-profit Florida

     corporation. Members of this organization include individuals with disabilities as defined

     by the ADA, and are representative of a cross-section of the disabilities to be protected

     from discrimination by the ADA. The purpose of this organization is to represent the

     interest of its members by assuring places of public accommodation are accessible to and

     usable by the disabled and that its members are not discriminated against because of their

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     disabilities.   DISABLED PATRIOTS OF AMERICA, INC. and its members have

     suffered and will continue to suffer direct and indirect injury as a result of the

     Defendant’s discrimination until the Defendant is compelled to comply with the

     requirements of the ADA. One or more of its members has suffered an injury that would

     allow it to bring suit in its own right. DISABLED PATRIOTS OF AMERICA, INC. has

     also been discriminated against because of its association with its disabled members and

     their claims.

8.   Completely independent of the personal desire to have access to this place of public

     accommodation free of illegal barriers to access, Plaintiff also acts as a "tester" for the

     purpose of discovering, encountering, and engaging discrimination against the disabled in

     public accommodations. When acting as a "tester," Plaintiff employs a routine practice.

     Plaintiff personally visits the public accommodation; engages all of the barriers to access,

     or at least all of those that Plaintiff is able to access; and tests all of those barriers to

     access to determine whether and the extent to which they are illegal barriers to access;

     proceeds with legal action to enjoin such discrimination; and subsequently returns to the

     premises to verify its compliance or non-compliance with the ADA and to otherwise use

     the public accommodation as members of the able-bodied community are able to do.

     Independent of other subsequent visits, Plaintiff also intends to visit the premises

     annually to verify its compliance or non-compliance with the ADA, and its maintenance

     of the accessible features of the premises. In this instance, Plaintiff, in Plaintiff’s

     individual capacity and as a “tester,” visited the Facility, encountered barriers to access at

     the Facility, and engaged and tested those barriers, suffered legal harm and legal injury,

     and will continue to suffer such harm and injury as a result of the illegal barriers to access

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      and the ADA violations set forth herein.

9.    Defendant owns, leases, leases to, or operates a place of public accommodation as

      defined by the ADA and the regulations implementing the ADA, 28 CFR 36.201(a) and

      36.104. Defendant is responsible for complying with the obligations of the ADA. The

      place of public accommodation that the Defendant owns, operates, leases or leases to is

      known as Days Inn, is located at 1 W. 9 Mile Road, Hazel Park, Michigan 48030.

10.   DISABLED PATRIOTS OF AMERICA, INC. and EFREM WALKER have a realistic,

      credible, existing and continuing threat of discrimination from the Defendant’s non-

      compliance with the ADA with respect to this property as described but not necessarily

      limited to the allegations in paragraph 12 of this complaint. Plaintiffs have reasonable

      grounds to believe that they will continue to be subjected to discrimination in violation of

      the ADA by the Defendant. EFREM WALKER desires to visit Days Inn not only to

      avail himself of the goods and services available at the property but to assure himself that

      this property is in compliance with the ADA so that he and others similarly situated will

      have full and equal enjoyment of the property without fear of discrimination.

11.   The Defendant has discriminated against the individual Plaintiff and members of the

      corporate Plaintiff organization by denying them access to, and full and equal enjoyment

      of, the goods, services, facilities, privileges, advantages and/or accommodations of the

      buildings, as prohibited by 42 U.S.C. § 12182 et seq.

12.   The Defendant has discriminated, and is continuing to discriminate, against the Plaintiff

      in violation of the ADA by failing to, inter alia, have accessible facilities by January 26,

      1992 (or January 26, 1993, if Defendant has 10 or fewer employees and gross receipts of

      $500,000 or less). A preliminary inspection of Days Inn has shown that violations exist.

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       These violations include, but are not limited to:

Parking

A. The disabled use spaces do not have clear and level access aisles provided, violating Sections
   4.1.2, and 4.6.3 of the ADAAG whose resolution is readily achievable.

B. The accessible parking spaces are improperly dispersed and marked as per US Code 23,
   Section 109 D(striped in white and prominently outlined in blue), and in violation of Section
   4.6.2 of the ADAAG whose resolution is readily achievable.

C. There is a passenger unloading area provided for public use without designating an area for
   disabled use in violation of Section 4.6.6 of the ADAAG whose resolution is readily
   achievable.

D. The accessible parking spaces are not dispersed and located closest to the accessible
   entrances, violating Section 4.6.2 of the ADAAG whose resolution is readily achievable.

Entrance Access and Path of Travel

E. There are no accessible routes from the street, sidewalk and parking areas. There are
   violations of the requirements in Sections 4.3.2, 4.5.2, 4.7.1 and 4.8.2 of the ADAAG whose
   resolution is readily achievable.

F. There are interior doors of the building that exceed the maximum force of 5 lb to open in
   violation of Section 4.13.11 of the ADAAG whose resolution is readily achievable whose
   resolution is readily achievable.

G. There are rises at the thresholds of entrances at the facility in excess of 1/2 of an inch,
   violating Sections 4.5.2 and 4.13.8 of the ADAAG whose resolution is readily achievable.

H. There are changes in levels of greater than ½ inch, violating Section 4.3.8 of the ADAAG
   whose resolution is readily achievable.

I. The clear width and/or maneuvering clearances at doors to the facility are less than the
   prescribed minimums, in violation of Sections 4.13.5 and 4.13.6 of the ADAAG whose
   resolution is readily achievable.

J. There are stairs provided at the facility that do not comply with the standards prescribed in
   Section 4.9 of the ADAAG whose resolution is readily achievable.

K. There are elevators provided at the facility that do not comply with the standards prescribed
   in Section 4.10 of the ADAAG whose resolution is readily achievable.

L. There is not a continuous path of travel connecting all essential elements of the facility, in
   violation of Sections 4.3.1 and 4.3.2 of the ADAAG whose resolution is readily achievable.
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Access to Goods and Services

M. There are permanently designated interior spaces without proper signage in violation of
   Section 4.1.2 and 4.30 of the ADAAG whose resolution is readily achievable.

N. There are protruding objects present throughout the facility, in violation of Section 4.4 of
   ADAAG whose resolution is readily achievable.

O. There are restrooms for public use at the facility without the required disabled use elements,
   in violation of several Sections of the ADAAG whose resolution is readily achievable.

P. There are rooms for public lodging at the facility without the required disabled use
   elements, in violation of several Sections of the ADAAG whose resolution is readily
   achievable.

Restrooms

Q. There are exposed pipes in restrooms at the facility, violating of Section 4.19.4 of the
   ADAAG whose resolution is readily achievable.

R. The clear floor space provided in the restroom violates the provisions of Sections 4.2.1,
   4.18.3 and 4.22 of the ADAAG whose resolution is readily achievable.

S. The grab-bars in the toilet room stalls do not comply with the requirements prescribed in
   Sections 4.17.6 and 4.26 of the ADAAG whose resolution is readily achievable.

T. There are urinals provided for public use that do not comply with the standards set forth in
   Section 4.18 of the ADAAG whose resolution is readily achievable.

U. The water closets that are provided for public use at the facility violate the provisions of
   Section 4.16 of the ADAAG whose resolution is readily achievable.

V. There are amenities provided for public use that do not comply with the requirements of the
   ADAAG whose resolution is readily achievable.

Accessible Guest Rooms

X. There are barriers to access in the guestrooms designated for disabled use in violation of
   several Sections of the ADAAG, whose resolution is readily achievable.

Y. The rooms designated for disabled use do not provide a 36-inch clear floor space on both
   sides of the bed in violation of Section 9 of the ADAAG whose resolution is readily
   achievable.


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Z. The rooms designated for disabled use do not provide elements equipped for use by the
   hearing and/or 'visually impaired violating Section 9 of the ADAAG whose resolution is
   readily achievable.

AA. The bathtub does not provide a seat as required in Section 4.20.3 of the ADAAG whose
  resolution is readily achievable.

BB. The rooms designated for disabled use do not provide a compliant roll-in shower for use
   by the disabled, violating Section 9 of the ADAAG whose resolution is readily achievable.

CC. The rooms designated for disabled use provide elements with controls and/or dispensers
   outside of the required reach ranges violating Sections 4.2 and 9 of the ADAAG whose
   resolution is readily achievable.

DD. The rooms designated as accessible are not equipped with accessible door hardware
  violating Sections 4.13.9 and 9 of the ADAAG whose resolution is readily achievable.

EE. The sinks in the restroom provided in the room designated for disabled use do not meet the
    requirements prescribed in Sections 4.24 of the ADAAG whose resolution is readily
    achievable.

FF. The grab-bars in the restroom provided in the room designated as accessible do not comply
    with the requirements prescribed in Sections 4.17.6 and 4.26 of the ADAAG whose
    resolution is readily achievable.

GG. There is no clear path of travel provided between all elements in the disabled room. This
  is in violation of Sections 4.3 and 9 of the ADAAG whose resolution is readily achievable.

HH. The fixtures in the disabled use room have controls that cannot be operated with a closed
  fist in violation of the ADAAG whose resolution is readily achievable.

13.    The discriminatory violations described in paragraph 12 are not an exclusive list of the

       Defendant’s ADA violations. Plaintiffs require the inspection of the Defendant’s place of

       public accommodation in order to photograph and measure all of the discriminatory acts

       violating the ADA and all of the barriers to access. The individual Plaintiff, the members

       of the Plaintiff group, and all other individuals similarly situated, have been denied

       access to, and have been denied the benefits of services, programs and activities of the

       Defendant’s buildings and its facilities, and have otherwise been discriminated against


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      and damaged by the Defendant because of the Defendant’s ADA violations, as set forth

      above.   The individual Plaintiff, the members of the Plaintiff group and all others

      similarly situated will continue to suffer such discrimination, injury and damage without

      the immediate relief provided by the ADA as requested herein. In order to remedy this

      discriminatory situation, the Plaintiff requires an inspection of the Defendant’s place of

      public accommodation in order to determine all of the areas of non-compliance with the

      Americans with Disabilities Act.

14.   Defendant has discriminated against the individual and corporate Plaintiffs by denying

      them access to full and equal enjoyment of the goods, services, facilities, privileges,

      advantages and/or accommodations of its place of public accommodation or commercial

      facility in violation of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore,

      the Defendant continues to discriminate against the Plaintiff, and all those similarly

      situated by failing to make reasonable modifications in policies, practices or procedures,

      when such modifications are necessary to afford all offered goods, services, facilities,

      privileges, advantages or accommodations to individuals with disabilities; and by failing

      to take such efforts that may be necessary to ensure that no individual with a disability is

      excluded, denied services, segregated or otherwise treated differently than other

      individuals because of the absence of auxiliary aids and services.

15.   Plaintiffs are without adequate remedy at law and are suffering irreparable harm.

      Plaintiffs have retained the undersigned counsel and are entitled to recover attorney’s

      fees, costs and litigation expenses from the Defendant pursuant to 42 U.S.C. § 12205 and

      28 CFR 36.505.

16.   Defendant is required to remove the existing architectural barriers to the physically

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      disabled when such removal is readily achievable for its place of public accommodation

      that has existed prior to January 26, 1992, 28 CFR 36.304(a); in the alternative, if there

      has been an alteration to Defendant’s place of public accommodation since January 26,

      1992, then the Defendant is required to ensure to the maximum extent feasible, that the

      altered portions of the facility are readily accessible to and useable by individuals with

      disabilities, including individuals who use wheelchairs, 28 CFR 36.402; and finally, if the

      Defendant’s facility is one which was designed and constructed for first occupancy

      subsequent to January 26, 1993, as defined in 28 CFR 36.401, then the Defendant’s

      facility must be readily accessible to and useable by individuals with disabilities as

      defined by the ADA.

17.   Notice to Defendant is not required as a result of the Defendant’s failure to cure the

      violations by January 26, 1992 (or January 26, 1993, if Defendant has 10 or fewer

      employees and gross receipts of $500,000 or less). All other conditions precedent have

      been met by Plaintiffs or waived by the Defendant.

18.   Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiffs

      Injunctive Relief, including an order to require the Defendant to alter Days Inn to make

      those facilities readily accessible and useable to the Plaintiffs and all other persons with

      disabilities as defined by the ADA; or by closing the facility until such time as the

      Defendant cures its violations of the ADA.

WHEREFORE, Plaintiffs respectfully request:

      a.     The Court issue a Declaratory Judgment that determines that the Defendant at the

             commencement of the subject lawsuit is in violation of Title III of the Americans

             with Disabilities Act, 42 U.S.C. § 12181 et seq.

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       b.      Injunctive relief against the Defendant including an order to make all readily

               achievable alterations to the facility; or to make such facility readily accessible to

               and usable by individuals with disabilities to the extent required by the ADA; and

               to require the Defendant to make reasonable modifications in policies, practices or

               procedures, when such modifications are necessary to afford all offered goods,

               services, facilities, privileges, advantages or accommodations to individuals with

               disabilities; and by failing to take such stops that may be necessary to ensure that

               no individual with a disability is excluded, denied services, segregated or

               otherwise treated differently than other individuals because of the absence of

               auxiliary aids and services.

       c.      An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C.

               § 12205.

       d.      Such other relief as the Court deems just and proper, and/or is allowable under

               Title III of the Americans with Disabilities Act.



Counsel for Plaintiffs:

\s\ Owen B Dunn Jr -- dated: October 27, 2008

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